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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION

UNITED STATES OF AMERICA,
Plaintiff,
CASE NO: l:lS-CR-109

VS.

SERGHEI VERLAN, DETENTION ORDER
Defendant.

 

The defendant poses a serious risk of flight if released On the govennnent‘s motion, the
court held a detention hearing under the Bail Reform Act, 18 U.S.C. § 3142(f). The court
concludes the defendant must be detained pending trial.

Based on the information of record, the court finds by a preponderance of the evidence that
the defendant's release would pose a risk of nonappearance at court proceedings

ln addition to the reasons more particularly stated on the record in open court at the
detention hearing, the court finds that the defendant fled to another country upon learning of the
criminal charges; is subject to a lengthy period of incarceration if convicted; is not a United States
citizen, is subject to an ICE detainer, and faces deportation; lacks significant community or family
ties to this district; and conditions which restrict defendant’s travel, personal contacts, and
possession of drugs, alcohol, and/or firearms; require reporting, education, employment, or
treatment; or monitor defendant’s movements or conduct; or any combination of these conditions
or others currently proposed or available (see 18 U.S.C. § 3142(0)), will not sufficiently ameliorate
the risks posed if the defendant is released

Directions Regarding Detention

The defendant is committed to the custody of the Attorney General or a designated
representative for confinement in a corrections facility separate, to the extent practicable, from
persons awaiting or serving sentences or held in custody pending appeal. The defendant must be
afforded a reasonable opportunity to consult privately with defense counsel. On order of the
United States Court or on request of an attorney for the Governrnent, the person in charge of the
corrections facility must deliver the defendant to the United States marshal for a court

appearance

Dated December 14, 2018
BY THE COURT: S/Karen L. Litkovitz

